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                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

JENNIFER BEAUFORD, et al.,
INDIVIDUALLY & ON BEHALF OF OTHERS
SIMILARLY SITUATED                                                        PLAINTIFFS

      v.                       Case No. 4:12-cv-139-JLH


ACTION LINK, LLC                                                DEFENDANTS
______________________________________________________________________________

                   PLAINTIFFS’ POST HEARING BRIEF AND
              INCORPORATED MOTION FOR JUDGEMENT AS A
                MATTER OF LAW ON LIQUIDATED DAMAGES
______________________________________________________________________________

                    I. INTRODUCTION & PROCEDURAL BACKGROUND

      This is a collective action under the Fair Labor Standards Act for wages owed. The

remaining Plaintiffs (“Adams Plaintiffs”) are part of a group of brand advocates who

worked for Actionlink, LLC. The Court granted summary judgment that brand advocates

were misclassified as exempt. (Doc. 85). The Court also granted Actionlink’s motion for

summary judgment that the Adams Plaintiffs had waived their claims by accepting back-

pay checks that Actionlink issued following a limited Department of Labor investigation.

(Doc. 103). Before the case could be tried, Actionlink offered judgment to the brand

advocates who were not paid from the limited DOL investigation. (Doc. 124). The Adams

Plaintiffs and Actionlink cross appealed, and the Eighth Circuit affirmed this Court’s

order on the classification issue and reversed and remanded on the waiver issue. (Doc.

154). On remand, the Court held a bench trial on Actionlink’s defense to liquidated

damages.
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       Actionlink did not prove it acted in both good faith belief and with reasonable

grounds to believe that its decision to classify brand advocates as exempt employees

complied with the Fair Labor Standards Act. Actionlink’s story about how it analyzed

the exempt status of brand advocates smacks of something dreamed up as an

afterthought. Regardless, taken at face value Actionlink established that it learned that

brand advocates might not qualify for the outside sales exemption, and, in response, it

did not seek any professional advice to determine whether the exemption actually would

apply. Actionlink merely decided that brand advocates could be exempt because a 2004

handout identified pharmaceutical sales representatives as an example of exempt outside

sales employees. Actionlink did not even investigate why pharmaceutical sales

representatives – a job it thought was identical to the brand advocate position – would

qualify for the outside sales exemption. Actionlink did not met its heavy burden of

establishing its good-faith defense to liquidated damages. This Court should award the

Adams Plaintiffs liquidated damages in an equal amount to the checks Actionlink

tendered as unpaid overtime.

                               II. FACTUAL BACKGROUND

       In early 2011, Actionlink launched the “LG Slingshot” program to provide

marketing services to its customer LG Electronics. (Tanner Test. [Ex. A] at 41:14–42:15).

The purpose of the program was to drive sales and increase LG’s market share compared

to Samsung, LG’s competitor. (Tanner Test. [Ex. A] at 42:11–42:15). To perform these

services, Actionlink hired brand advocates, including Plaintiffs. (Tanner Test. [Ex. A] at

42:16–42:25).

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       According to Actionlink’s Chief Operations Officer, Del Tanner, full-time brand

advocates are typically classified as an exempt position in the industry. (Tanner Test. [Ex.

A] at 43:6–43:17). Part of a brand advocate’s job is to work in retail stores that sell LG

products and encourage the retailer’s sales associates to recommend LG products to

customers that enter the store. (Tanner Test. [Ex. A] at 44:7–45:6).1 Brand advocates also

maintain LG product displays in the retail stores, including moving the displays to

central areas of focus and ensuring the displays enticingly display the LG product.

(Tanner Test. [Ex. A] at 46:10–47:17). Actionlink monitors brand advocates’ job

performance based on sales metrics and other similar targets. (Tanner Test. [Ex. A] at 49:6–

50:14). Brand advocates bring food and coffee to build relationships with sales associates

to encourage the retailer’s employees to recommend LG products to customers. (Tanner

Test. [Ex. A] at 50:16–51:22). Brand advocates do not have register access at the retail stores

to make sales. (Tanner Test. [Ex. A] at 80:24–81:5). Brand advocates do not take money

from the retail store’s customers. (Tanner Test. [Ex. A] at 72:20–21). Brand advocates do

not have title to the LG electronics they promote, and they cannot transfer title of those

products to the retail store’s customers. (Tanner Test. [Ex. A] at 72:22–25).



1 Some of Tanner’s testimony about the duties and role of brand advocate position seems
to conflict with the undisputed facts that formed the basis of this Court’s summary
judgment order, which the Eighth Circuit affirmed. Actionlink had the opportunity to
present this evidence before the Court ruled on Plaintiffs’ motion for summary judgment,
and the Court should not accept new facts presented after judgment. See, e.g., Hagerman
v. Yukon Energy Corp., 839 F.2d 407, 413–14 (8th Cir. 1988); Whitlock v. Midwest Acceptance
Corp., 575 F.2d 652, 653 n.1 (8th Cir. 1978) (noting that movant has a duty to show that
new argument or facts brought forward after judgment could not have been made prior
to judgment). The Court should also take this late, conflicting testimony into
consideration when it considers the veracity of Tanner’s testimony.
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      Around September 2011, the United States Department of Labor began an

investigation into Actionlink’s classification of brand advocates. (Gries Test. [Ex. A] at

15:1–6). Actionlink’s Payroll Manager, David Gries, was involved in the investigation and

provided the DOL with the brand advocate job description and information on the brand

advocate’s hours worked and pay information. (Gries Test. [Ex. A] at 16:14–18). When

calculating brand advocate’s hours worked, Gries did not include the time those

employees spent working before their first store visit or after their last store visit,

including entering call reports, taking calls, answering emails, attending trainings, and

completing other tasks. (Gries Test. [Ex. A] at 19:4–11). After the investigation, the DOL

determined that Actionlink misclassified brand advocates as employees exempt from the

DOL’s overtime requirement. (Gries Test. [Ex. A] at 17:6–8).

      Prior to the start of the LG Slingshot program, Actionlink contends that it

investigated whether brand advocates would qualify for the outside sales exemption.2

Despite the alleged industry custom and its past practice of treating similar full-time

employees as exempt, Actionlink claims that it held a roundtable meeting to discuss

whether it could classify brand advocates as exempt. (Gries Test. [Ex. A] at 26:22–27:8).

Gries testified that he collected unidentified information from the DOL website, as well

as an FLSA update handout from Actionlink’s human resources management company,




2 During the litigation, Actionlink also asserted that brand advocates might meet the
requirements of the administrative exemption. See, e.g. Doc. 53. The only exemption that
Actionlink claims to have researched or relied upon when classifying brand advocates as
exempt employees was the outside sales exemption. See e.g., Gries Test. [Ex. A] 24:21-25:2
(“I was looking for information on the outside sales exemption . . . .”).
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Oasis. (Gries Test. [Ex. A] at 12:13–18). Using that information, Gries and Tanner testified

they, along with human resources employees, “people from the executive team,” and

“people from the LG field team” had a meeting where they discussed the classification

decision, and Tanner made the ultimate decision to classify brand advocates as exempt.

(Gries Test. [Ex. A] at 12:13–13:12; Tanner Test. [Ex. A] at 56:16–60:22). After the meeting,

not everyone included in the discussion agreed with the classification decision. (Tanner

Test. [Ex. A] at 61:9–15).

       Actionlink based its decision to classify brand advocates as exempt based on a 2004

handout using pharmaceutical sales representatives as an example of outside sales

employees. Gries testified that “when the ‘pharmaceutical rep’ came up, that was kind of

our deciding factor” in classifying brand advocates as exempt. (Gries Test. [Ex. A] at

13:23–14:6). Likewise, Tanner characterized the pharmaceutical sales representative

example as “the end-all, be all” to the classification decision. (Tanner Test. [Ex. A] at 58:6–

60:22). Tanner allegedly contacted pharmaceutical sales representatives to discuss their

business and confirmed his opinion that these employees were virtually identical to

brand advocates. (Tanner Test. [Ex. A] at 58:6–60:22). Tanner even opined that “while [he]

expected to find some nuanced differences” between the pharmaceutical sales role and

the brand advocate position that would cause him to take a closer look at the issue, his

conversations revealed to him that there were no nuanced differences and the two

positions “actually more closely resembled [Actionlink’s] brand advocate model than he

even originally thought.” (Tanner Test. [Ex. A] at 58:6–60:22).



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       Gries and Tanner both testified that they read the FLSA’s regulations explaining

that promotional work was not exempt. Gries testified they “were unclear on” the part of

the regulation relating to promotional work. (Gries Test. [Ex. A] at 26:8–21). Tanner

admitted that there was a “conflict in [his] mind” about whether brand advocates could

be classified as exempt, and that there “seems to be a conflict in the advice there.” (Tanner

Test. [Ex. A] at 73:8–20). Although Gries and Tanner were aware that brand advocates

performed work that the regulations seemed to make nonexempt, Actionlink did not

solicit any professional advice about the issue. (Gries Test. [Ex. A] at 25:8–20; Tanner Test

[Ex. A] at 81:23–82:23).

                                   III. LEGAL STANDARD

       Under the Fair Labor Standards Act, any time an employer violates the Act the

employer “shall” be liable for the unpaid minimum wages and their unpaid overtime

compensation and an additional equal amount as liquidated damages. 29 U.S.C. § 216(b).

The relevant portion of the statute states:

       Any employer who violates the provisions of section 206 or section 207 of
       this title shall be liable to the employee or employees affected in the amount
       of their unpaid minimum wages, or their unpaid overtime compensation,
       as the case may be, and in an additional equal amount as liquidated
       damages.

29 U.S.C. § 216(b) (emphasis added).

       When the Act was originally passed, liquidated damages were automatic. In 1947,

however, Congress passed the Portal-to-Portal Act and provided employers with a

limited affirmative defense to liquidated damages. See Barcellona v. Tiffany English Pub,

597 F.2d 464, 468 (5th Cir. 1979) (discussing history of 29 U.S.C. § 260). Under the Portal-

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to-Portal Act, an employer can avoid liquidated damages by proving it acted in good

faith and had reasonable grounds to believe its actions did not violate the FLSA. 29 U.S.C.

§ 260. Unless the employer meets its burden of showing good faith and reasonable belief,

a full award of liquidated damages is mandatory. Braswell v. City of El Dorado, 187 F.3d

954, 957 (8th Cir. 1999) (reversing trial court order that did not award an equal amount of

liquidated damages). “[T]he burden is a difficult one, with double damages being the

norm and single damages the exception.” Chao v. Barbeque Ventures, LLC, 547 F.3d 938,

941-42 (8th Cir. 2008) (quoting Herman v. RSR Sec. Servs. Ltd., 172 F.3d 132, 142 (2d Cir.

1999)).

          The “good faith” requirement is a subjective standard where the employer must

establish “an honest intention to ascertain and follow the dictates of the FLSA.” Chao, 547

F.3d at 942. “To carry his burden, a defendant employer must show that he took

affirmative steps to ascertain the Act’s requirements, but nonetheless, violated its

provisions.” Id. The employer must also prove its position was objectively reasonable. Id.

“[E]ven if the required showing is made, remission of damages remains within the sound

discretion of the district court.” Brown v. L & P Indus., No. 5:04CV0379 JLH, 2005 U.S. Dist.

LEXIS 39920, at *34 (E.D. Ark. Dec. 21, 2005).

                                        IV. ARGUMENT

          A.    Actionlink’s “Roundtable” is Not Believable.

          Actionlink claims that before it classified brand advocates as exempt, it researched

and held a roundtable meeting to discuss the exemption status. The evidence presented

on this “roundtable” is not believable. Actionlink did not present any documentary

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evidence that this roundtable actually took place, and could not identify what documents

from the DOL it reviewed in reaching its decision. (Gries Test. [Ex. A] at 24:21–25:2).

Instead, Actionlink presented the testimony of Gries (who was involved in the

subsequent DOL investigation) and Tanner (who made the classification decision).

Although Tanner testified that Keith Allen, the vice president of operations, and Shirley

Berry, the director of human resources, were also present, Actionlink did not provide any

testimony from those employees. (Tanner Test. [Ex. A] at 81:1–22). Moreover, Actionlink

could not explain why it held the roundtable meeting in the first place given that it

asserted there was a widespread industry practice to classify all full-time employees

similar to brand advocates as exempt and that it had treated other full-time employees

who performed similar work as exempt. (Tanner Test. [Ex. A] at 78:19–22). It seems

unlikely that Actionlink would go through this process if both the industry and Company

had a uniform practice of classifying brand advocates as exempt. The roundtable

discussion, rather, smacks of afterthought as an attempt to avoid the FLSA’s mandatory

liquidated damages.

       The plethora of FLSA litigation taking place at the time of the classification

decision also calls into question the veracity of Actionlink’s roundtable meetings. Both

Tanner and Gries testified that once they saw the pharmaceutical sales representative

listed as an exempt employee, they were assured that brand advocates were also exempt.

(Gries Test. [Ex. A] at 13:23–14:6; Tanner Test. [Ex. A] at 58:6–60:22). Setting aside for a

moment the obvious fundamental differences between the two positions, a simple online

search at the time of the roundtable would have revealed that the classification of

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pharmaceutical sales representatives as exempt employees was not settled. See, e.g., In re

Novartis Wage & Hour Litig., 611 F.3d 141 (2d Cir. 2010) (pharmaceutical sales

representatives not exempt outside salesmen); Jirak v. Abbott Labs., Inc., 716 F. Supp. 2d

740 (N.D. Ill. 2010) (pharmaceutical sales representatives not exempt outside salesmen);

Kuzinski v. Schering Corp., 604 F. Supp. 2d 385 (D. Conn. 2009) aff’d 384 Fed. Appx. 17 (2d

Cir. 2010) (pharmaceutical sales representatives not exempt outside salesmen); Schaefer-

Larose v. Eli Lilly & Co., 663 F. Supp. 2d 674 (S.D. Ind. 2009) (pharmaceutical sales

representatives exempt outside salesmen); Baum v. Astazeneca LP, 605 F. Supp. 2d 669

(W.D. Penn. 2009) (pharmaceutical sales representatives exempt); Yacuobian v. Ortho-

Mcneil Pharm. Inc., No. SACV-00127-CJC(MLGx), 2009 U.S. Dist. LEXIS 27937 (C.D. Cal.

Feb. 6, 2009) (pharmaceutical sales representatives exempt outside salesmen). In fact, it

was not until Christopher v. SmithKline Beecham Corp., 132 S. Ct. 2156 (2012), that the circuit

split on whether pharmaceutical sales representatives were exempt was resolved.

Christopher was decided on June 18, 2012 – well after Actionlink reclassified its brand

advocates as non-exempt in response to the DOL’s limited investigation. The trial

testimony about Actionlink’s roundtable meeting is not believable, and the Company has

not met its burden to avoid mandatory liquidated damages.

       B.     Even if the Roundtable Occurred, it Only Confirms that
              Actionlink Did Not Act in Good Faith and With Reasonable
              Grounds to Believe its Classification Decision Complied With the
              FLSA.

       Even if the roundtable meetings occurred (which is unlikely), the process outlined

by Actionlink confirms that the Company did not act in good faith and did not have


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reasonable grounds to believe it complied with the FLSA. The limited, preliminary

investigation created more questions than answers about whether brand advocates are

exempt outside salesmen. Rather than solicit professional advice to navigate the Act’s

exemption, Actionlink stuck its head in the sand and based its decision on pharmaceutical

sales representatives – a hotly contested and dissimilar job position. Actionlink’s conduct

is not enough to overcome mandatory liquidated damages.

        At trial, both Gries and Tanner testified that they had reviewed DOL Fact Sheet

17f, which discusses the outside sales exemption. (Gries Test. [Ex. A] at 26:8–21; Tanner

Test. [Ex. A] at 73:1–20) (see also Plaintiffs’ Ex. 2). The fact sheet states, in relevant part,

that:

        Promotion work may or may not be exempt outside sales work, depending
        upon the circumstances under which it is performed. Promotional work
        that is actually incidental to and in conjunction with an employee’s own
        outside sales or solicitations is exempt work. However, promotion work
        that is incidental to sales made, or to be made, by someone else is not
        exempt outside sales work.

        (Plaintiffs’ Ex. 2 at *2) (emphasis added). Gries testified that the roundtable

members “were unclear on” the part of the regulation relating to promotional work.

(Gries Test. [Ex. A] at 26:8–21). Tanner admitted that there was a “conflict in [his] mind”

about whether brand advocates could be classified as exempt, and that there “seems to

be a conflict in the advice there.” (Tanner Test. [Ex. A] at 73:8–20). Both Gries and Tanner

admit that, after they read the fact sheet explaining the specific exemption they were

considering, they were unsure about whether brand advocates’ promotional work was

exempt or non-exempt work. They were aware, however, that promotion work, when


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incidental to sales made by someone else, is not exempt work. Despite the disagreement

among the individuals at the meeting, and realizing that there was a “conflict in the

advice,” the Company took no further steps to investigate and did not solicit any

professional advice about the FLSA or whether brand advocates were exempt employees.

(Gries Test. [Ex. A] at 25:8–20; Tanner Test [Ex. A] at 81:23–82:23). Actionlink’s initial

investigation revealed more questions than answers, and the Company did not take steps

to discover whether the brand advocate position was exempt. Actionlink’s head-in-the-

sand strategy was not in good faith and was not objectively reasonable.

       Actionlink was on notice that classifying brand advocates as exempt might violate

the FLSA, and it did not act in good faith or with reasonable grounds when it did not take

any additional steps to determine the legality of that decision. In Johnson v. Big Lots Stores,

Inc., 604 F. Supp. 2d 903, 925–26 (E.D. La. 2009), the court found that the employer did

not show that it acted in good faith and with reasonable grounds when it classified certain

employees as exempt. The court explained that, after a separate lawsuit was filed on the

same issue, the employer was on notice that the employees might be improperly

classified, and it did not act in good faith or with reasonable grounds when it did not

inquire further into whether the classification decision was legal. Id. Because the

employer did not take additional steps to determine if it was breaking the law, the court

held that the employer had not shown that it should be exempted from the liquidated

damages award. Id.

       Likewise, the court in Elwell v. Univ. Hosps. Home Care Servs., 276 F.3d 832, 841 (6th

Cir. 2001), reversed a denial of liquidated damages because the employer did not satisfy

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its burden of proving it acted in good faith when adopting the pay practice in question.

The court noted that the employer did not rely “on the expertise or opinion of any other

person or entity with knowledge of the FLSA regulations, including its attorney or the

Department of Labor.” Id. In fact, the employer never even requested an opinion from

the DOL or any other expert about the pay scheme at issue. Id. As a result, the employer

did not meet its burden of overcoming mandatory liquidated damages. See also Krieg v.

Pell’s, Inc. No. IP 00-1230-C-T/K, 2002 U.S. Dist. LEXIS 4861, at *13–14 (S.D. Ind. Jan. 28,

2002) (denying good faith defense and holding that, once employer was on notice that

pay practices may violate the FLSA, “a prudent person with such notice would have

sought professional advice. Pell offers no evidence that it did.”); Herman v. RSR Sec. Servs.,

172 F.3d 132, 142–43 (2d Cir. 1999) (affirming award of liquidated damages when

employer knew pay practices may violate the FLSA, but did not take any additional steps

to ensure compliance); Rodriguez v. Farm Stores Grocery, Inc., 518 F.3d 1259, 1272–73 (11th

Cir. 2008) (affirming award of liquidated damages when there was no evidence that the

employer consulted the DOL or an FLSA expert before or during the period of the

violation.).

       Actionlink will likely argue that the Court should not award liquidated damages

because it relied on Oasis’s advice. In cases where Courts do not award liquidated

damages, however, the employer seeks professional, competent advice. Actionlink’s use

of Oasis falls far short of what is required. For example, in Cross v. Arkansas Forestry

Comm’n, 938 F.2d 912, 917–18 (8th Cir. 1991), the court affirmed the denial of liquidated

damages where the evidence established that the employer relied upon professional

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guidance from the State’s Office of Personnel Management, and OPM actually analyzed

the specific positions at issue. Similarly, in Hultgren v. County of Lancaster, 913 F.2d 498,

508–10 (8th Cir. 1990), the court reversed an award of liquidated damages. There, the

magistrate held that the employer had a good faith and reasonable belief that it did not

have to pay for sleep time up until a DOL investigation because it consulted with counsel

numerous times in attempting to comply with the FLSA. Id. at 509. The Eighth Circuit

noted that ordinarily a letter from the DOL informing an employer of violations would

“deprive the employer of a good faith defense.” Id. In that case, however, the DOL

suspended the investigation based of “inconsistent enforcement of Wage and Hour

guidelines” with regard to the sleep-time issue. Id.

       Like the employers in Johnson and Elwell, Actionlink has not met its burden of

avoiding liquidated damages. Taking Actionlink’s evidence as true, Actionlink’s

preliminary investigation revealed serious questions about whether brand advocates

qualified for the outside-sales exemption. Despite the questions, Actionlink did not seek

experienced guidance. The sum total of Oasis’s advice to Actionlink on the exemption

was providing a generic handout identifying the changes to the various FLSA exemptions

made in 2004. (Oasis Handout [Ex. B]). No one from Oasis attended the roundtables or

answered any questions. Oasis did not render any opinion.

       Actionlink’s failure to seek advice is especially appalling because it had access to

competent professionals. Oasis, Actionlink’s human resources company, had both inside

and outside counsel that could be used to advise the Company. (Tanner Test [Ex. A] at

75:20-76:12). Actionlink also had access to other attorneys as well. (Tanner Test [Ex. A] at

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75:20-76:6). Although Tanner testified that someone at the roundtable “was a law school

graduate,” Tanner did not testify about that individual’s education or their experience

with the FLSA. (Tanner Test. [Ex. A] at 56:16–58:1). Moreover, Tanner was silent on which

member of the roundtable team did not agree that brand advocates were exempt,

including the “law school graduate’s” opinion on the exemption decision. (Tanner Test.

[Ex. A] at 61:9–15). Despite having access to professionals and after realizing it might be

violating the law, Actionlink did not consult an expert. The failure to consult with counsel

under these circumstances might have been sufficient to show a willful violation, Brown,

2005 U.S. Dist. LEXIS at *29–30, and it certainly forecloses Actionlink’s argument that it

acted in good faith and had reasonable grounds to believe its actions did not violate the

FLSA. Plaintiffs are entitled to liquidated damages.

       Moreover, Actionlink’s reliance on pharmaceutical sales representatives is

ludicrous. Tanner testified that he relied on a single sentence of a handout listing

pharmaceutical sales representatives as an example of exempt outside sales employees

under the new (i.e., 2004) regulations. (Tanner Test. [Ex. A] at 71:11–72:4; see also Oasis

Handout [Ex. B]). Based solely on this handout, Actionlink decided brand advocates were

also exempt because they were just like pharmaceutical sales representatives. (Gries Test.

[Ex. A] at 13:23–14:6; Tanner Test. [Ex. A] at 58:6–60:22). But Gries and Tanner both agreed

that there are a myriad of significant differences between selling controlled substances

and selling TVs and washing machines. (Gries Test. [Ex. A] at 25:24–226:7). Moreover, had

Tanner done anything to investigate why (or whether) pharmaceutical sales

representatives qualified for the outside sales exemption, he would have learned that

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there were a number of lawsuits alleging that pharmaceutical sales representatives were

not exempt outside sales employees.

      Actionlink cannot meet its heavy burden of proving the good faith defense to

liquidated damages. Actionlink knew that brand advocates might not be exempt, but it

did not seek any expert advice to guide its decision. Instead, Actionlink simply decided

that its brand advocates were exempt outside sales employees because a handout

summarizing the 2004 changes to the FLSA regulations listed pharmaceutical sales

representatives as an example of exempt outside sales employees, apparently unaware

of the unique regulatory environment of selling prescription drugs and the other obvious

difference with the brand advocate position. Actionlink also did not even investigate why

(or whether) pharmaceutical sales representatives qualified for an FLSA exemption. The

Court should award liquidated damages in an equal amount to the backpay checks.

      C.     Actionlink’s Cooperation with the DOL is Irrelevant.

      Actionlink will likely argue that once the DOL began its investigation, the

Company complied with the DOL’s requests. In order to avoid liquidated damages, the

employer must prove that their erroneous classification decision was objectively

reasonable and that they acted in good faith when they made that decision. Brown, 2005

U.S. Dist. LEXIS 39920, at *36–37. The DOL investigation, however, occurred well after

Actionlink misclassified the brand advocates. As a result, that evidence has no bearing

on whether Actionlink acted in good faith and with reasonable grounds at the time it

implemented the pay practice at issue here. If Actionlink’s arguments were acceptable,

an employer could always avoid liquidated damages so long as it complied with the

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DOL’s requests (which employers are already required to do). The Court should

disregard the testimony and argument related to Actionlink’s conduct after it was caught

violating the law.

                                    V. CONCLUSION

       This is not a case where an employer investigated the requirements of the FLSA,

tried its best to comply, and got it wrong. Instead, Actionlink made a preliminary

investigation into the Act’s requirements and realized that there were a number of

problems with classifying brand advocates as exempt. Despite knowing the classification

decision may be illegal, Actionlink never consulted an attorney, the DOL, or even its own

human resources management company for professional advice on how to comply with

the FLSA. The Company has not met its burden of proving that it acted in good faith and

with reasonable grounds to believe its decision to classify brand advocate as exempt

complied with the FLSA. As a result, liquidated damages are mandatory, and the Court

should determine as a matter of law that Plaintiffs’ are entitled to liquidated damages in

an amount equal to the backpay checks already issued.




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                                   Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I, Timothy A. Steadman, certify that a true and accurate copy of the foregoing
document was sent via CM/ECF on this 8th day of June, 2016, which will send
notification to all counsel of record.



                                             /s/ Timothy A. Steadman
                                             Timothy A. Steadman




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